UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

 

 

IN RE Case No. 11-06637(MCF)
JUAN C. BALCELLS GALLARETA CHAPTER 7
Debtor

SWORN STATEMENT OF

ALEXANDRA BALCELLS GONZALEZ
I, Alexandra Balcells Gonzalez, of legal age, single, a student and resident of Guaynabo,

Puerto Rico, hereby declare under penalty of perjury:

1. My personal circumstances are as above stated.

Di Iam 24 years of age.

3: I am the daughter of Mrs. Amarilys Gonzalez Garcia and Juan Carlos Balcells
Galagarreta.

4. My father, the Debtor, Juan Carlos Balcells Galagarreta filed the bankruptcy
petition genesis of this case on August 5, 2011. At such time I was 17 years old.

5, On February 12, 2012, my mother, Amarilys Gonzalez Garcia, filed a Domestic
Support Obligation (“DSO”) proof of claim.

6. I ratify any actions and authorize my mother, Amarilys Gonzalez Garcia, to act in
my place and stead, in relation to the DSO claim filed in the above captioned case.

Ps I am currently a student at the University of Puerto Rico, Rio Piedras.

8. The address of my permanent residence is Urb. Villas Reales, Calle Versalles #

381, Guaynabo, Puerto Rico.
9. I declare under oath that the foregoing is true and correct to the best of my
knowledge.

In Jan eo UQ/ _, Puerto Rico, on this 27 day of April, 2019

AQ,

ALEXANDRA BALCELLS GONZALEZ
Affidavit No. 34 Yr

Sworn and subscribed before me by Alexandra Balcells Gonzalez, of legal age, single, as
student and resident of Guaynabo, Puerto Rico, whom I personally know, in ( /UA AGN,
Puerto Rico, this 29 _ day of April of 2019.

t - NOTARY PUBLIC

 

 

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Sello de Asistencia Leqal
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